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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 USI INSURANCE SERVICES LLC

             Plaintiff,                       CIVIL ACTION NO.

       v.                                     1:20-CV-2490-SCJ

 SOUTHEAST SERIES OF
 LOCKTON COMPANIES, LLC,

             Defendant.

                                  ORDER

      This is a lawsuit between two competing insurance brokerage firms

based on the departure of three employees who left the employ of Plaintiff

USI Insurance Services LLC (“USI”) to go to work for Defendant Southeast

Series of Lockton Companies, LLC (“Lockton”). USI filed the lawsuit and

asserted claims for tortious interference with contractual and business

relations and sought compensatory and punitive damages plus attorney’s fees

[1]. Lockton filed counterclaims against USI and alleged tortious interference

with contractual and business relations and deceptive trade practices. In

addition to compensatory and punitive damages, Lockton sought attorney’s

fees and injunctive relief.
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      Currently pending are Lockton’s Motion for Summary Judgment [116]

as to USI’s claims against it as well as USI’s Motion for Summary Judgment

[119] as to Lockton’s counterclaims against it. USI also moves for partial

summary judgment as to liability with regard to its claims against Lockton.

Also pending are Lockton’s unopposed Motion for Leave to File Supplemental

Authority [169] and USI’s Motion for Leave to File a Surreply [172].

I.    Background

      In 2017, USI purchased all issued and outstanding equity interests of

Wells Fargo Insurance Services USA, Inc. (“WFIS”). Plt.’s Stmt. of Material

Facts (“PSOMF”) ¶2 [120].1 WFIS was renamed USI Insurance Services

National, Inc. (“USIN”), then merged into USI Insurance Services LLC

(Plaintiff in this lawsuit). Id. According to USI, it is the successor-in-interest




1 Citations that reference only one parties’ Statements of Material Facts refer
to statements that are not disputed. Pursuant to the Local Rules of this
Court, each of the proponent’s facts will be deemed admitted unless the
respondent “(i) directly refutes the [proponent’s] fact with concise responses
supported by specific citations to evidence (including page or paragraph
number); (ii) states a valid objection to the admissibility of the [proponent’s]
fact; or (iii) points out that the [proponent’s] citation does not support the
[proponent’s] fact or that the [proponent’s] fact is not material or otherwise
has failed to comply with the provisions set out in LR 56.1 B(1).” LR
56.1B(2)(a)(2) NDGa. Where a factual assertion or portion thereof is properly
disputed, the Court will cite directly to evidence from the record that
supports the Court’s factual recitation.

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to WFIS/USIN. First Allen Decl. at ¶13 [131-1].2 At the time of the stock

purchase and sale agreement, Dean Anderson, Taylor Anderson, and Roger

Maldonado (collectively the “Former Employees”) were employed by USI.

DSOMF ¶3 [117-1].

      Dean Anderson and Taylor Anderson executed employment agreements

(the “DA Agreement” and “TA Agreement,” respectively) when employed by

WFIS, which subsequently applied to their employment with USI. PSOMF



2 The Court notes that, rather than actually responding to 203 of USI’s 289
Statements of Material Fact, Lockton incorporated by reference the responses
Maldonado and the Andersons made to similar statements in Anderson v.
USI, No. 1:19-CV-5582-SCJ (the “Related Action”). This incorporation by
reference is non-sensical in many instances. For example, in multiple
responses Lockton incorporated by reference, there is an objection to
materiality on the grounds that Lockton is not a party to the lawsuit. See
Plts.’ Resp. to Def.’s Stmt. of Material Facts at ¶¶ 69, 72, 73, Anderson v.
USI, No. 1:19-CV-5582-SCJ [254]. However, Lockton is a party to the instant
lawsuit. The Court find these shortcuts taken by counsel for Lockton to be
disingenuous. Nevertheless, the Court has painstakingly sifted both sets of
responses for supportable disputes or objections. With respect to the status of
USI as the successor-in-interest to WFIS, Lockton has incorporated by
reference the response to USI’s statement filed by Maldonado and the
Andersons in the related case. Def.’s Resp. to Plts.’ Stmt. of Material Fact at
¶ 2 [136]. In that case, Maldonado and the Andersons objected to Robert
Allen making this legal conclusion because he is not a lawyer. Nevertheless,
Allen, in his capacity as Property & Casualty Leader in the Atlanta office of
USI, offered a detailed description of how USI evolved from WFIS as set forth
above. His declaration statements are sufficient for the Court to conclude
that USI is the successor-in-interest to WFIS/USIN. Thus, to the extent that
Lockton adopted the objection set forth by the plaintiffs in the Related Action,
the objection is OVERRULED.

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¶¶7, 31 [120]. Upon the closing of the purchase agreement between WFIS

and USI, Roger Maldonado, accepted an at-will position as Senior Vice

President in USI’s National Aviation Practice Group working out of USI’s

office in Atlanta, Georgia. PSOMF ¶22 [120]. Maldonado agreed to certain

terms and conditions, which are contained in a written agreement (“RM

Agreement”). Id.

     A. Specific Terms of the Employment Agreements

     All three employment agreements contain the following terms:

   “Active Prospective Client” means any Person or group of Persons who
    the Company specifically solicited or had documented plans to solicit
    within the six (6) months preceding the termination of
    [Executive’s/Producer’s/Employee’s] employment hereunder.
   “Client Account” means the account of any client (including, without
    limitation, any retail insurance agent or broker, individual insured,
    association and any member thereof, and any insurance carrier or other
    entity to the extent third party administration claims processing or
    underwriting is performed by the Company for such carrier or other
    entity) which is or was serviced by the Company in connection with the
    Company’s business, regardless of whether such services are provided
    by, or through the licenses of the Company or any shareholder,
    employee or agent of the Company.
   “Competitive Business” means any Person engaged in the production,
    distribution, marketing, or sale of a Competitive Product. Where a
    Competitive Business is part of a larger business involving both
    competitive and non-competitive products, the terms of this Agreement
    shall only apply to that part of the business which involves the
    production, distribution, marketing or sale of a Competitive Product.
   “Competitive Product” means any product or service, in existence, that
    competes, or is reasonably anticipated to compete, in the same markets
    with a product or service of the Company, in existence, which
    [Executive/Producer/Employee] or the Company has sold, marketed,

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       distributed or developed in the last two (2) years of
       [Executive’s/Producer’s/Employee’s] employment with the Company, or
       about which [Executive/Producer/Employee] has acquired Confidential
       Information.
      Purpose of Restrictions. The purpose of the covenants in this
       Agreement is to protect the Company’s assets and to prevent any
       Competitive Business from gaining an unfair advantage from
       [Executive’s/Producer’s/Employee’s] knowledge of the Company’s
       Confidential Information or misuse of the Company’s Goodwill.
       [Executive/Producer/Employee] agrees that the time, geographic and
       scope limitations herein are reasonable and necessary to protect the
       Company’s Confidential Information and Goodwill.
      Modification. If a court finds that any covenants in this Agreement
       exceed the permissible time, geographic or scope limitations, such
       covenants shall be reformed to the maximum permissible time,
       geographic or scope limitations. If a court refuses to enforce any of
       these covenants, in whole or in part, the unenforceable terms shall be
       eliminated (“blue penciled”) or otherwise modified to the minimum
       extent necessary to permit the remaining terms to be enforced. The
       Company may unilaterally limit the scope of these covenants.
      No Ownership Rights to Client Accounts.
       [Executive/Producer/Employee] represents and warrants to the
       Company that [Executive/Producer/Employee] has no direct or indirect
       ownership rights to any Client Accounts of the Company and expressly
       acknowledges that the Client Accounts are owned by the Company
       and/or a USI Company.
      Governing Law. This Agreement shall be governed by and construed in
       accordance with the laws of the State of Georgia, without regard to
       principles of conflicts of law.

PSOMF ¶¶45, 46, 47, 48, 49, 50, 51, 52 [120].

            1. Terms of Dean Anderson’s Agreement

       Dean Anderson was Senior Vice President, National Practice Leader—

Aviation for USI. PSOMF ¶4 [120]. Section 8.2 of the DA Agreement (the “DA

Notice Provision”) provides:

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     Termination by Executive. Executive may terminate Executive’s
     employment hereunder by giving at least sixty (60) days written
     notice to the Company. The termination of employment shall be
     effective on the date specified in such notice; provided, however,
     at any time following receipt of such notice, the Company may:
     (a) accept Executive’s termination of employment hereunder
     effective on such earlier date specified by the Company; and/or (b)
     require Executive to cease performing any services hereunder
     until the termination of employment.

PSOMF ¶8 [120].

     Section 2.3 of the DA Agreement provides:

     Duty of Loyalty. Executive acknowledges a duty of loyalty to the
     Company and agrees to use his/her best efforts to faithfully,
     diligently and completely perform all duties and responsibilities
     hereunder in furtherance of the business of any USI Company.

PSOMF ¶9 [120].

     Section 2.2 of the DA Agreement provides:

     No Conflicts of Interest. During Executive’s employment
     hereunder, Executive agrees not to accept other employment or
     perform any activities or services that would be inconsistent with
     this Agreement or would interfere with or present a conflict of
     interest concerning Executive’s employment with the Company.
     Executive agrees to comply with all business practices and
     ethical conduct requirements set forth in writing by USI and/or
     the Company in employee manuals and other publications.

PSOMF ¶10 [120].

     Section 7.5 of the DA Agreement (the “Non-Compete Covenant”)

provides:




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Non-Competition. In consideration of Executive’s employment
hereunder, and for other good and valuable consideration,
Executive agrees, during the Term and for six (6) months after
Executive is no longer employed hereunder, for any reason,
Executive shall not, directly or indirectly, compete with the
Company within the Geographic Area by: (a) acting in
Executive’s same or similar capacity, which Executive acted for
the Company, on behalf of any Competitive Business; (b)
performing Executive’s same or similar functions, which
Executive performed for the Company, on behalf of any
Competitive Business; or (c) otherwise taking, facilitating or
encouraging any action to evade or attempt to evade the intent of
this Section; provided, however, that in the event Executive’s
employment hereunder is terminated by the Company without
Cause within twelve (12) months following the Effective Date,
then the restrictions in this Section 7.5 (Non-Competition) shall
be void and of no further force or effect. “Restricted Geographic
Area” means each of the following separate and divisible
geographic areas: (a) the state in which Executive maintained
his/her principal office for the Company during the last twelve
(12) months of Executive’s employment hereunder; (b) a one
hundred (100) mile radius from any Company facility in which
Executive maintained an office during the last twelve (12)
months of Executive’s employment hereunder; (c) any territory to
which Executive has been assigned during the last twelve (12)
months of Executive’s employment hereunder; and (d) any area
in the United States where the Company has conducted USI
Business during the last twelve (12) months of Executive’s
employment hereunder. Notwithstanding the foregoing, in the
event that (i) Executive terminates Executive’s employment
hereunder pursuant to Section 8.2 (Termination by Executive)
within twelve (12) months following the Effective Date (a
“Voluntary Termination Event”) and (ii) the Company does not,
within fifteen (15) business days of the Company’s receipt of
Executive’s notice of termination (the “Election Period”), notify
Executive of the Company’s election to enforce this Section 7.5
(Non-Competition), then, following the later of (1) the effective
date of such Voluntary Termination Event or (2) the end of the
Election Period, this Section 7.5 (Non-Competition) shall be void

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     and of no further force or effect. For the avoidance of doubt, any
     such election shall remain fully enforceable against Executive
     and Executive shall be entitled to the payments set forth in
     Section 8.3(F). Also, for the avoidance of doubt, the covenants set
     forth in this Section 7.5 shall remain in force for any termination
     hereunder, except as expressly stated in this Section 7.5.

PSOMF ¶12 [120].

     Section 7.6 of the DA Agreement (the “Client Non-Compete Covenant”)

provides:

     Non-Competition of Client Accounts. During the Term and for (2)
     years after Executive is no longer employed hereunder, for any
     reason, Executive shall refrain from carrying on any business in
     competition with the Company, directly or indirectly, with
     respect to any Client Account or Active Prospective Client in the
     Restricted Geographic Area. “Carrying on any business in
     competition with the Company” shall mean the sale of or
     providing any product or service that competes, or is reasonably
     anticipated to compete, in the same markets, with a product or
     service of the Company as to which Executive had a role in the
     sale, marketing, distribution, or development in the last two (2)
     years of Executive’s employment with the Company or about
     which Executive acquired Confidential Information. It is
     expressly agreed that this Section 7.6 is not intended to restrict
     or prohibit the ownership by Executive of stock or other securities
     of a publicly-held corporation in which Executive (a) does not
     possess beneficial ownership of more than five percent (5%) of the
     voting capital stock of such corporation and (b) does not
     participate in any management or advisory capacity.

PSOMF ¶14 [120].

     Section 7.7 of the DA Agreement (the “DA Non-Solicitation Covenant”)

provides:



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     Non-Solicitation of Clients and Active Prospective Clients. In
     consideration of Executive’s employment hereunder, and for other
     good and valuable consideration, Executive agrees that:

     (a) During the Term and for two (2) years after Executive is no
     longer employed hereunder, for any reason, Executive shall not,
     without the Company’s prior written consent, directly or
     indirectly, on behalf of any Competitive Business in any capacity:
     (i) solicit or attempt to solicit services in competition with the
     Company to any Client Account; (ii) divert or attempt to divert
     services away from the Company with respect to any Client
     Account; (iii) consult for any Client Account with respect to
     services in competition with the Company; (iv) sign a broker of
     record letter with any Client Account to provide services in
     competition with the Company; or (v) induce the termination,
     cancellation or non-renewal of any Client Account; in each case
     with respect to any Client Account that Executive managed or
     regularly serviced and/or about which Executive obtained
     Confidential Information on behalf of the Company within the
     last two (2) years of Executive’s employment hereunder.

     (b) During the Term and for six (6) months after Executive is no
     longer employed hereunder, for any reason, Executive shall not,
     without the Company’s prior written consent, directly or
     indirectly, on behalf of any Competitive Business in any capacity:
     (i) solicit or attempt to solicit services in competition with the
     Company to any Active Prospective Client; (ii) divert or attempt
     to divert services away from the Company with respect to any
     Active Prospective Client; (iii) consult for any Active Prospective
     Client with respect to services in competition with the Company;
     or (iv) sign a broker of record letter with any Active Prospective
     Client to provide services in competition with the Company; in
     each case with respect to any Active Prospective Client that
     Executive solicited and/or about which Executive obtained
     Confidential Information on behalf of the Company within the
     last six (6) months of Executive’s employment hereunder.

PSOMF ¶15 [120].



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            2. Terms of Roger Maldonado’s Agreement

     Section 4.5 of the RM Agreement (the “RM Non-Solicitation Covenant”)

provides:

     Non-Solicitation of Clients and Active Prospective Clients. In
     consideration of Employee’s employment with the Company, and
     for other good and valuable consideration, Employee agrees that:

     (a) During Employee’s employment with the Company and for
     two (2) years after Employee is no longer employed with the
     Company, for any reason, Employee shall not, without the
     Company’s prior written consent, directly or indirectly, on behalf
     of any Competitive Business in any capacity: (i) solicit or attempt
     to solicit services in competition with the Company to any Client
     Account; (ii) divert or attempt to divert services away from the
     Company with respect to any Client Account; (iii) consult for any
     Client Account with respect to services in competition with the
     Company; (iv) sign a broker of record letter with any Client
     Account to provide services in competition with the Company; or
     (v) induce the termination, cancellation or non-renewal of any
     Client Account; in each case with respect to any Client Account
     that Employee managed or regularly serviced and/or about which
     Employee obtained Confidential Information on behalf of the
     Company within the last two (2) years of Employee’s employment
     with the Company.

     (b) During Employee’s employment with the Company and for six
     (6) months after Employee is no longer employed with the
     Company, for any reason, Employee shall not, without the
     Company’s prior written consent, directly or indirectly, on behalf
     of any Competitive Business in any capacity: (i) solicit or attempt
     to solicit services in competition with the Company to any Active
     Prospective Client; (ii) divert or attempt to divert services away
     from the Company with respect to any Active Prospective Client;
     (iii) consult for any Active Prospective Client with respect to
     services in competition with the Company; or (iv) sign a broker of
     record letter with any Active Prospective Client to provide

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     services in competition with the Company; in each case with
     respect to any Active Prospective Client that Employee solicited
     and/or about which Employee obtained Confidential Information
     on behalf of the Company within the last six (6) months of
     Employee’s employment with the Company.

PSOMF ¶24 [120].

           3. Terms of Taylor Anderson’s Agreement

     Section 8.2 of the TA Agreement (the “TA Notice Provision”) provides:

     Termination by Producer. Producer may terminate Producer’s
     employment hereunder by giving at least sixty (60) days written
     notice to the Company. The termination of employment shall be
     effective on the date specified in such notice; provided, however,
     at any time following receipt of such notice, the Company may:
     (a) accept Producer’s termination of employment hereunder
     effective on such earlier date specified by the Company; and/or (b)
     require Producer to cease performing any services hereunder
     until the termination of employment.

PSOMF ¶32 [120].

     Section 2.4 of the TA Agreement provides:

     Duty of Loyalty. Producer acknowledges a duty of loyalty to the
     Company and agrees to use his/her best efforts to faithfully,
     diligently and completely perform all duties and responsibilities
     hereunder in furtherance of the business of any USI Company.

PSOMF ¶33 [120].

     Section 2.3 of the TA Agreement provides:

     No Conflicts of Interest. During Producer’s employment
     hereunder, Producer agrees not to accept other employment or
     perform any activities or services that would be inconsistent with
     this Agreement or would interfere with or present a conflict of

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     interest concerning Producer’s employment with the Company.
     Producer agrees to comply with all business practices and ethical
     conduct requirements set forth in writing by USI and/or the
     Company in employee manuals and other publications.

PSOMF ¶34 [120].

     Section 7.5 of the TA Agreement (the “TA Non-Solicitation Covenant”)

provides:

     Non-Solicitation of Clients and Active Prospective Clients. In
     consideration of Producer’s employment hereunder, and for other
     good and valuable consideration, Producer agrees that:

     (a) During the Term and for two (2) years after Producer is no
     longer employed hereunder, for any reason, Producer shall not,
     without the Company’s prior written consent, directly or
     indirectly, on behalf of any Competitive Business in any capacity:
     (i) solicit or attempt to solicit services in competition with the
     Company to any Client Account; (ii) divert or attempt to divert
     services away from the Company with respect to any Client
     Account; (iii) consult for any Client Account with respect to
     services in competition with the Company; (iv) sign a broker of
     record letter with any Client Account to provide services in
     competition with the Company; or (v) induce the termination,
     cancellation or non-renewal of any Client Account; in each case
     with respect to any Client Account that Producer managed or
     regularly serviced and/or about which Producer obtained
     Confidential Information on behalf of the Company within the
     last two (2) years of Producer’s employment hereunder.

     (b) During the Term and for six (6) months after Producer is no
     longer employed hereunder, for any reason, Producer shall not,
     without the Company’s prior written consent, directly or
     indirectly, on behalf of any Competitive Business in any capacity:
     (i) solicit or attempt to solicit services in competition with the
     Company to any Active Prospective Client; (ii) divert or attempt
     to divert services away from the Company with respect to any

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     Active Prospective Client; (iii) consult for any Active Prospective
     Client with respect to services in competition with the Company;
     or (iv) sign a broker of record letter with any Active Prospective
     Client to provide services in competition with the Company; in
     each case with respect to any Active Prospective Client that
     Producer solicited and/or about which Producer obtained
     Confidential Information on behalf of the Company within the
     last six (6) months of Producer’s employment hereunder.

PSOMF ¶35 [120].

     B. Communications between the Former Employees and
     Lockton

     Like USI, Lockton is involved in providing risk management and

insurance brokerage services. Def.’s Stmt. of Material Facts (“DSOMF”) ¶1

[142]. In June 2019, Manoj Sharma, Executive Vice President and Chief

Operating Officer of Lockton, contacted Taylor Anderson. PSOMF ¶57 [120].

After a lunch meeting with Sharma, Taylor Anderson emailed him a copy of

his employment agreement with USI. PSOMF ¶¶ 58, 59 [120]. Sharma

forwarded that agreement to Lockton’s attorneys for review. PSOMF ¶59

[120]. On July 3, 2019, Sharma texted Taylor Anderson to tell him that the

next step would be to discuss deal terms. PSOMF ¶ 60. On August 23, 2019,

Sharma emailed Taylor Anderson an offer of employment that included an

annual salary and sign-on bonus plus indemnity in the event of litigation by

USI. PSOMF ¶61 [120]. On October 7, 2019, Hiram Marrero, the Regional

Executive Officer for the Lockton Companies, the parent entity of Lockton,

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asked Sharma to arrange a dinner with Taylor Anderson; Sharma responded

affirmatively and told Marrero that they needed “to get Taylor hooked

emotionally” with Lockton. PSOMF ¶ 63 [120]. On October 26, 2019, Sharma

sent Marrero a text message asking him to review the numbers for

compensation of Taylor Anderson, Dean Anderson, and Maldonado. PSOMF

¶64 [120]. On October 27, Sharma emailed Taylor Anderson updated terms of

an employment offer with Lockton; those terms included an indemnity by

Lockton in the event USI made claims against Taylor Anderson. PSOMF ¶65

[120]. On October 28, 2019, Sharma sent Taylor Anderson a formal offer

letter, non-disclosure agreement, and benefits summary. Id. A revised offer

letter was sent three days later with modifications to the sign-on bonus.

PSOMF ¶67 [120]. On November 1, 2019, Taylor Anderson accepted the offer.

PSOMF ¶68 [120]. On December 2, 2019 and again on December 8, 2019

Sharma sent Taylor Anderson revised offer letters, increasing his sign-on

bonus from $1.5 million to $1.57 million. PSOMF ¶71.

      Having learned from Taylor Anderson that others in USI’s aviation

practice were interested in employment opportunities, Sharma contacted

Dean Anderson and Maldonado. PSOMF ¶ 72 [120]. During a lunch meeting,

Taylor Anderson and Maldonado inquired whether Dean Anderson was

interested in employment with Lockton. PSOMF ¶73 [120]. Sharma called

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Dean Anderson at USI on October 11, 2019 and soon after sent him a draft of

terms for an employment offer. PSOMF ¶74 [120]. Dean Anderson met with

Sharma and Lockton’s CEO, Douglas Hutcherson, at Lockton’s office on

October 14, 2019. PSOMF ¶75 [120]. As Taylor Anderson did, Dean Anderson

shared a copy of his USI employment agreement with Sharma. PSOMF ¶ 76

[120]. When Dean Anderson told Lockton he could not work for it in Georgia

due to constraints in his USI employment agreement, Sharma told him that

he could work for Lockton in Charlotte or Florida. PSOMF ¶¶77, 78 [120].

      On October 27, 2019, Sharma sent Dean Anderson an email containing

the draft terms of an employment offer. PSOMF ¶79 [120]. Two days later,

Sharma sent a revised offer to Dean Anderson that included an annual

salary, a potential bonus structure, and an indemnity provision. PSOMF ¶81

[120]. The bonus structure for Dean Anderson included consideration of

revenue generated clients. PSOMF ¶82 [120]. Dean Anderson accepted the

revised employment offer via text message. PSOMF ¶83 [120]. Dean

Anderson received a formal offer letter dated October 31, 2019 reflecting the

terms agreed to, including indemnification by Lockton. PSOMF ¶84 [120].

Dean Anderson and Sharma met with Wit Hall, a lawyer referred to by

Sharma as “our lawyer.” PSOFM ¶86 [120].




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      After receiving a phone call from Sharma, Maldonado set up an in-

person meeting on September 4, 2019. PSOMF ¶89 [120]. At Sharma’s

request, Maldonado emailed Sharma his employment agreement with USI.

PSOMF ¶91 [120]. On October 25, 2019, Sharma asked Maldonado to meet

with Hall—again referred to by Sharma as “our lawyer.” PSOMF ¶92 [120].

At a meeting between Maldonado, Hall, and Sharma, Maldonado’s

contractual obligations to USI were discussed. PSOMF ¶93 [120]. On October

27, 2019, Sharma sent Maldonado an email containing draft employment

terms. PSOMF ¶94 [120]. Those terms stated that Maldonado would have the

title of Senior Vice President, Producer Member, Southeast Series of Lockton

Companies, LLC and would receive an annual pre-tax draw of $325,000, a

$50,000 sign-on bonus, and commission percentages. PSOMF ¶95 [120]. In

addition, Lockton agreed to indemnify Maldonado in the event of litigation

with USI “subject to contingencies such as [his] compliance with the advice of

[Lockton’s] counsel and [his] continued membership with the [Lockton]

Series.” PSOMF ¶96 [120]. Maldonado admitted that he anticipated the

potential for such litigation. PSOMF ¶97 [120].

      On October 28, 2019, Sharma sent Maldonado a follow-up email

increasing the sign-on bonus to $65,000. PSOMF ¶98 [120]. On the same day,

Sharma emailed Maldonado an offer letter, non-disclosure agreement, and

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benefits summary. PSOMF ¶99 [120]. On November 1, 2019, Maldonado

signed the offer letter while at a meeting in Lockton’s offices. PSOMF ¶100

[120].

         C. Lockton’s Awareness of the Restrictive Covenants

         Lockton reviewed employment agreements of new hires such as the

Former Employees to, among other things, learn whether the recruit was

subject to a non-compete or non-solicit provision and when and how a recruit

could resign from their old employer. PSOMF ¶101 [120]. Lockton’s counsel

regularly met with new hires to “advise them on their rights and

responsibilities pre-resignation, resignation, post-resignation” and so the new

hires could “answer any questions that . . . counsel would have about their

employment contract.” PSOMF ¶102 [120]. Prior to making an official offer to

Maldonado, Lockton was aware of the terms of his employment agreement

with USI, including the noncompete and non-solicitation provisions. PSOMF

¶103 [120]. Prior to making an official offer to Taylor Anderson, Lockton was

aware of the terms of his employment agreement with USI, including the

noncompete, non-solicitation, and notice provisions. PSOMF ¶104 [120]. Prior

to making an official offer to Dean Anderson, Lockton was aware of the terms

of his employment agreement with USI, including his non-compete, non-

solicitation, and notice provisions. PSOMF ¶105 [120]. Sharma was

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specifically aware of Dean and Taylor Anderson’s notice provisions. PSOMF

¶106 [120]. Sharma acknowledged that the Andersons’ failure to comply with

their notice provisions would be disruptive to USI. PSOMF ¶107.

      D. Lockton’s Agreement to Indemnify

      The indemnification agreements between Lockton the Former

Employees covered legal fees as well as any damages for which the Former

Employees are found liable. PSOMF ¶109 [120]. The Former Employees paid

nothing in relation to the lawsuit against them; nor did they receive a bill for

attorney’s fees. PSOMF ¶111 [120].

      E. Interaction with Counsel

      Sharma met with attorneys from Hall, Gilligan, Roberts, & Shanlever

LLC (“HGRS”), acting as counsel for Lockton, at least three times and had

several phone calls with them prior to the resignation of Maldonado and the

Andersons from USI. PSMOF ¶113 [120]. Lockton was aware of potential for

litigation if it hired Maldonado and the Andersons. PSOMF ¶120 [120].

      Lockton introduced Maldonado and the Andersons to Hall and HGRS

for the purpose of providing legal advice concerning their potential departure

from USI to Lockton. PSOMF ¶119 [120]. Hall and HGRS were present at

meetings in the capacity as counsel to Lockton and counsel to Maldonado and

the Andersons. PSOMF ¶ 114 [120]. The purpose of these meetings was to

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obtain legal advice concerning Maldonado’s and the Andersons’ impending

departure from USI and arrival at Lockton. PSOMF ¶115 [120]. Lockton paid

Hall and HGRS legal fees for representing Maldonado and the Andersons,

including their time in attending all meetings with them. PSOMF ¶118 [120].

     F. Resignations from USI

     Sharma set the date for Maldonado and the Andersons to resign from

USI and begin working at Lockton as December 9, 2019. PSOMF ¶123 [120].

Sharma was aware that the Andersons were required to provide USI with

sixty-days’ notice prior to terminating their employment and was likewise

aware that they would not be providing that contractually required notice.

PSOMF ¶¶124, 127 [120]. Taylor Anderson’s decision to resign without

providing sixty-days’ notice to USI was made after discussions with Lockton

and Hall. PSOMF ¶¶128, 130 [120]. Taylor Anderson knew of the December

9, 2019 date as early as December 2, 2019 when he had discussions with

Lockton about preparing his business cards. PSOMF ¶131 [120]. Maldonado

communicated with Sharma the evening of December 8, 2019 and

immediately after he submitted his letter of resignation to USI on December

9, 2019. PSOMF ¶132 [120].

     Dean Anderson, Taylor Anderson, and Maldonado each prepared a

letter of resignation. PSOMF ¶133 [120]. According to Dean Anderson, he

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sought Hall’s assistance regarding the resignation letter, and Hall actually

created the first draft of Dean Anderson’s letter. D. Anderson Dep. at 188-89

[126-1]. Taylor Anderson likewise got advice from counsel in preparing his

resignation letter. T. Anderson Dep. at 168 [126-4]. And Maldonado

communicated with counsel before submitting his letter as well. PSOMF

¶139 [120]. The resignation letters were tendered to USI “effective

immediately” on December 9, 2019. PSOMF ¶134 [120]. The Andersons did

not provide sixty-days’ notice prior to submission of their resignations.

PSOMF ¶135 [120].

      USI contends that because the Andersons failed to provide the required

sixty-days’ notice, they remained USI employees until February 7, 2020.

PSOMF ¶137. Lockton disputes the characterization of the Andersons as

remaining employed with USI despite their resignations that were “effective

immediately.” See Def.’s Resp. to the Plt.’s Stmt. of Material Facts ¶137 [136].

      G. Departure Emails

      Before submitting their resignation letters, Maldonado and the

Andersons sent emails to clients and others outside of USI informing

recipients of their imminent departure (“Departure Emails”). PSOMF ¶¶140,

141 [120]. The Departure Emails were drafted with the assistance of counsel.

Def.’s Resp. to Plt.’s Stmt. of Material Fact ¶143 [136] (incorporating by

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reference the response of Maldonado and the Andersons from Anderson v.

USI, No. 1:19-CV-5582-SCJ, Plt’s. Resp. to Def.’s Stmt. of Material Facts ¶85

[254]).

      H. Arrival at Lockton and Lawsuit Against USI

      Lockton had workspaces ready for Maldonado and the Andersons on

December 9, 2019. PSOMF ¶126 [120]. They reported to Lockton’s Atlanta,

Georgia office on the same day they submitted their resignations to USI.

PSOMF ¶149 [120]. After arriving at the Lockton offices, Maldonado and the

Andersons updated their respective LinkedIn accounts to announce they were

now affiliated with Lockton. PSOMF ¶144 [120]; Maldonado Dep. at 178 [126-

6]; D. Anderson Dep. at 211 [126-1]; T. Anderson Dep. at 182 [126-4]. Their

new job titles were listed as follows: Dean Anderson “Senior Vice President &

Aviation Practice Leader at Lockton Companies SE Series;” Roger Maldonado

“Senior Vice President, Producer at Lockton Companies;” and Taylor

Anderson “Senior Vice President, Defense & Aerospace at Lockton

Companies.” PSOMF ¶¶145, 146, 147 [120].

      Lockton began paying the Former Employees’ salaries on December 9,

2019 and has done so continuously since then. PSOMF ¶150 [120]. Except for

medical leave taken by Dean Anderson from April to August 2020, all three

have worked at Lockton since that date. Id.

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      According to USI, the Former Employees have been working in

capacities that are directly competitive to the business of USI. First Allen

Decl. ¶42 [131-1]. USI further contends that Dean Anderson provides the

same services at Lockton that he did at USI and that his two positions were

“substantially similar.” First Allen Dec. ¶¶15, 20, 40 [131-1]. Dean Anderson

works for Lockton in Charlotte, North Carolina. PSOMF ¶154 [120].

However, during his first week of employment with Lockton, he attended

orientation at the Lockton Atlanta office. D. Anderson Dep. at 138 [126-1].

      I. Related Action

      On the day after the Former Employees resigned their positions with

USI, they filed a lawsuit against USI in the Superior Court of Fulton County,

Georgia; USI removed the action to this Court. PSOMF ¶148 [120]; Anderson

v. USI Insurance Services LLC, No. 1:19CV-5582-SCJ (Dec. 11, 2019 N.D.

Ga.). The Former Employees requested a declaratory judgment as to the

enforceability of specific restrictive covenants in their employment

agreements with USI and sought temporary and permanent injunctions

preventing USI from enforcing the restrictive covenants. Id. USI brought

counterclaims against the Former Employees asserting claims for breaches of

the various restrictive covenants and common law fiduciary duty.




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      On July 21, 2020, this Court granted motions by the parties in the

Related Action and the instant action to consolidate the cases pursuant to

Federal Rule of Civil Procedure 42 for purposes of discovery and trial [15];

Related Action at Doc. No. 143. Due to the limitations of the CM/ECF system,

each case maintained its respective civil action numbers, but the parties were

permitted to file documents in both cases using a caption including both civil

action numbers. Id.

      J. USI Clients Moving to Lockton

      On December 10, 2019, Dean Anderson had a phone conversation with

Jennifer Guthrie, owner of In-Flight Crew Connections, LLC (“ICC”), a client

of USI. PSOMF ¶156 [120]. Seven days later, USI received a broker of record

(“BOR”) letter from ICC stating that it was moving its account from USI to

Lockton. PSOMF ¶¶166, 253 [120]. In January 2020, Guthrie texted Dean

Anderson with a request that he review a contract; he told her that he could

not conduct business in Georgia but provided her with Taylor Anderson’s

email address. PSOMF ¶168 [120]. At some point, Dean Anderson met with

Guthrie and ICC’s general counsel, Irena Leigh, in Charlotte to review

contracts. PSOMF ¶169 [120]. While at USI, Taylor Anderson was in charge

of the ICC account. PSOMF ¶251 [120]. After leaving USI for Lockton, Taylor

Anderson received a text from Leigh in response to his Departure Email.

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PSOMF ¶252 [120]. Taylor Anderson recalls an exchange with Leigh in which

she asked for appropriate contacts at Lockton to discuss the ICC account. T.

Anderson Dep. at 239 [126-4]. Taylor Anderson directed Leigh to run all

account dialog through Sharma who, Taylor told Leigh, would be prepared for

her call. PSOMF ¶252 [120].

     While employed with USI, Dean Anderson worked with Floats and Fuel

Cells, Inc. (“FCC”), another USI client. PSOMF ¶170 [120]. After joining

Lockton, Dean Anderson communicated with FCC. PSOMF ¶171 [120]. On

March 16, 2020, USI received a BOR letter from FFC stating that it was

moving its account from USI to Lockton. PSOMF ¶172 [120].

     Within the sixty-day time period provided by the Notice Provisions of

the DA Agreement and TA Agreement, the following USI clients switched

their business from USI to Lockton: Brightwater Capita, Arista Aviation,

ICC, Rally Point Management, Tenax;,Fulcrum Concepts LLC, SouthWind,

Genesys, Field Aerospace, S3, Dowe Gallagher Aerospace LLC, Rampart

Aviation LLC, AirScan, US Aviation Training Solutions, Inc., and Overseas

Aircraft Support, Inc. PSOMF ¶269 [120].

     K. Marchisotto’s Email Communication with Tenax

     Matthew Marchisotto is an employee of USI who lives in New York and

had limited interaction with Dean Anderson prior to his departure for

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Lockton. PSOMF ¶274 [120]. This limited interaction concerned a client of

Marchisotto’s who needed aviation insurance. Id. In January 2020, having

heard of the Former Employees’ departure, Marchisotto called USI’s Atlanta

office regarding who would assist with the renewal of his client’s aviation

insurance. PSOMF ¶275 [120]. During this call, Marchisotto learned that

Tenax, a former USI client, had left USI and followed the Former Employees

to Lockton. PSOMF ¶276 [120]. Marchisotto had a high school friend,

Anthony Adler, that worked at NTC Group, the private equity firm that

owned Tenax. PSOMF ¶277 [120]. Marchisotto offered to have a conversation

with Adler in an effort to get Tenax to come back to USI. Marchisotto Dep. at

42 [98-1]. Before contacting Adler, Marchisotto learned of the litigation

between USI and the Former Employees and was told that a court had

entered an injunction. PSOMF ¶279 [120]; Marchisotto Dep. at 41-42 [98-1].

        On January 16, 2020, Marchisotto sent an email to Alder that stated in

part:

        These individuals [the Former Employees], like all USI employees,
        have employment agreements that, among other things, prohibit them
        for a period of 2 years from soliciting former clients that they serviced
        at USI. USI has gone to Federal Court and obtained an injunction that
        prohibits them from servicing the Tenax account along with the few
        other accounts that they attempted to take with them.




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PSOMF ¶280 [120]. Marchisotto testified that when he sent the email, he had

not read the TRO; instead, he had heard from USI personnel in Atlanta that

there was an injunction and he “assumed injunction means you can’t work”

and “that means you’re not permitted to work on an account.” PSOMF ¶281

[120]. Thus, according to Marchisotto’s deposition testimony, he assumed

that the Court’s injunction meant that Taylor and Dean Anderson could not

work on the Tenax account. Id. Marchisotto further testified that when he

wrote the email, “I wrote down what I believed was correct,” that he tried to

be truthful, and that he believed everything in the email was true.

Marchisotto Dep. at 109 [98-1].

      Marchisotto testified that after learning about the litigation and the

injunction, he suggested to USI’s Atlanta office personnel that he could

contact Adler and explain the situation. Marchisotto Dep. at 38 [98-1].

Marchisotto further testified that his suggestion was accepted. Marchisotto

Dep. at 39 [98-1].

      Adler forwarded Marchisotto’s email to a colleague who ultimately

forwarded it to Tim Cantrell, Chief Financial Officer of Tenax. PSOMF ¶284

[120]. Cantrell testified that the email did not cause him any concern and

that he believed Tenax was still eligible and allowed to continue doing

business with Lockton and Taylor Anderson and Roger Maldonado. Cantrell

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Dep. at 89, 101 [108-1]. Cantrell also testified that that he considered the

email a nuisance because it consumed time and required Tenax to engage

counsel. Cantrell Dep. at 94-95 [108-1]. Cantrell does concede, however, that

Tenax reached an indemnification agreement with Lockton to pay attorney’s

fees related to the lawsuit. Cantrell Dep. at 102-03 [108-1]. Tenax first

retained outside counsel prior to the Marchisotto email in order to respond to

a subpoena in the Related Action. Cantrell Dep. at 96 [108-1].

II.   Claims Asserted by the Parties

      In the complaint [1], USI set forth three tortious interference with

contractual and business relations claims. First, USI alleged that Lockton

engaged in wrongful and malicious conduct designed to induce Dean

Anderson and Taylor Anderson to breach the Notice Provisions and the Duty

of Loyalty Provisions of their employment agreements (Count One). Next,

USI alleged that Lockton engaged in wrongful and malicious conduct

designed to have Maldonado and the Andersons breach their Non-Compete

Covenants, Client Non-Compete Covenants, and Non-Solicitation Covenants

(Count Two). Finally, USI alleged that Lockton wrongfully and maliciously

raided USI’s Aviation Practice Group. USI sought compensatory damages,

punitive damages, and attorney’s fees. USI has moved for partial summary

judgment as to liability on Counts One and Two [119]. Lockton, on the other

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hand, has moved for summary judgment as to all three claims against it

[116].

         In its counterclaims [11], Lockton set forth two substantive claims

against USI. The first was for tortious interference with contractual and

business relations based on USI’s alleged false and misleading statements

about Lockton’s ability to service its customers. The second was for deceptive

trade practices pursuant to O.C.G.A. § 10-1-370, et seq., based on the same

allegations of false and misleading statements by USI regarding Lockton’s

ability to service its customers. Lockton sought injunctive relief as well as

compensatory damages, punitive damages, and attorney’s fees. On March 10,

2021, this Court dismissed the counterclaim for deceptive trade practice as

well as the claim asserting tortious interference with business relations and

the tortious interference with contractual relations claim to the extent that it

was based on USI attorney communications [81]. As a result, the remaining

counterclaim is for tortious inference with contractual relations based on

communications by USI employee Marchisotto concerning Lockton client

Tenax. USI moved for summary judgment as to this remaining counterclaim

as well as the claims for punitive damages and attorney’s fees [119].




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III. Legal Standard

      Federal Rule of Civil Procedure 56(a) provides that “[t]he court shall

grant summary judgement if the movant shows that there is no genuine

dispute as to any material act and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is genuine if the

evidence would allow a reasonable jury to find for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material”

if it is “a legal element of the claim under the applicable substantive law

which might affect the outcome of the case.” Allen v. Tyson Foods, Inc., 121

F.3d 642, 646 (11th Cir. 1997).

      The moving party bears the initial burden of showing, by reference to

materials in the record, that there is no genuine dispute as to any material

fact that should be decided at trial. Hickson Corp. v. N. Crossarm Co., 357

F.3d 1256, 1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986)). The moving party's burden can be discharged either by showing

an absence of evidence to support an essential element of the nonmoving

party's case or by showing that the nonmoving party will be unable to prove

their case at trial. Celotex, 477 U.S. at 325; Fitzpatrick v. City of Atlanta, 2

F.3d 1112, 1115 (11th Cir. 1993). In determining whether the moving party

has met this burden, the Court must consider the facts in the light most

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favorable to the nonmoving party. See Robinson v. Arrugueta, 415 F.3d 1252,

1257 (11th Cir. 2005).

      Once the moving party has adequately supported its motion, the non-

movant then has the burden of showing that summary judgment is improper

by coming forward with specific facts showing a genuine dispute. Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). There is no

“genuine [dispute] for trial” when the record as a whole could not lead a

rational trier of fact to find for the nonmoving party. Id. All reasonable

doubts, however, are resolved in the favor of the nonmoving party.

Fitzpatrick, 2 F.3d at 1115. In addition, the Court must “avoid weighing

conflicting evidence or making credibility determinations.” Stewart v. Booker

T. Washington Ins., 232 F.3d 844, 848 (11th Cir. 2000).

IV.   Discussion

      A. USI’s Claims

            1. Lockton’s Motion for Summary Judgment

      Lockton argues that it is entitled to summary judgment on all three of

USI’s claims because USI has no evidence that Lockton acted improperly and

without privilege.3 USI, on the other hand, argues that it is entitled to partial


3Lockton further argues that Maldonado and the Andersons did not breach
any contract with USI and USI has suffered no cognizable damages related to

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summary judgment as to Counts One and Two because the undisputed

evidence establishes that Lockton induced the Andersons to violate the

Notice Provisions and Duty of Loyalty Provisions contained in their

employment agreements as well as their common law duties of loyalty and

fiduciary duties. As to Count Three—the claim for raiding—USI argues there

is evidence from which a factfinder could conclude that that Lockton sought

to destroy USI’s aviation insurance capabilities and form its own aviation

group, and to this end, persuaded a substantial number of USI employees to

leave USI en masse to join Lockton resulting in a significant drop in USI’s

aviation-related revenue.

      The parties agree that

      “[t]ortious interference claims, whether asserting interference
      with contractual relations [or] business relations, . . . share
      certain common essential elements: (1) improper action or
      wrongful conduct by the defendant without privilege; (2) the
      defendant acted purposely and with malice with the intent to
      injure; (3) the defendant induced a breach of contractual
      obligations or caused a party or their parties to discontinue or fail
      to enter into an anticipated business relationship with the
      plaintiff; and (4) the defendant’s tortious conduct proximately
      caused damage to the plaintiff.”).


the alleged breaches. As set forth in this Court’s contemporaneous ruling on
the Former Employees’ Motion for Summary Judgment in the Related Action,
Maldonado and the Andersons are not entitled to summary judgment on
those grounds. Similarly, Lockton cannot prevail on its motion on the same
grounds.

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Gordon Document Prod., Inc. v. Serv. Techs., Inc., 308 Ga. App. 445, 449, 708

S.E.2d 48, 53 (2011). They disagree, however, as to what constitutes

“improper or wrongful conduct.”

      In support of its motion for summary judgment, Lockton contends there

is an absence of evidence of any improper actions or conduct by Lockton that

could be considered wrongful in itself. Lockton is correct that with respect to

the first element of tortious interference, Georgia courts have held, “Improper

actions constitute conduct wrongful in itself; thus, improper conduct means

wrongful action that generally involve[s] predatory tactics such as physical

violence, fraud or misrepresentation, defamation, use of confidential

information, abusive civil suits, and unwarranted criminal prosecutions.’”

Disaster Servs., Inc. v. ERC P'ship, 228 Ga. App. 739, 492 S.E.2d 526, 529

(1997) (quoting Am. Bldgs. Co. v. Pascoe Bldg. Sys., 260 Ga. 346, 392 S.E.2d

860 (1990)). The Georgia Court of Appeals has even held that for the

improper action or wrongful conduct element, a “[p]laintiff must show more

than that the defendant simply persuaded a person to break a contract.”

Kirkland v. Tamplin, 285 Ga. App. 241, 244, 645 SE.2d 653, 656 (2007).

      In response, however, USI points to this Court’s determination that the

“list of improper actions is not exhaustive, as Georgia courts have found other

types of conduct sufficiently wrongful to impose liability for tortious

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interference.” Walker v. Select Portfolio Serv. Inc., No. 1:16-CV-3401-SCJ,

2017 WL 9516599, at *2 (N.D. Ga. Aug. 10, 2017) (citing Carroll Anesthesia

Assocs., P.C. v. AnestheCare, Inc., 234 Ga. App. 646, 507 S.E.2d 829 (1998)

(finding an actionable tort where a new employer induced and encouraged

employees to breach valid restrictive covenants they had with their former

employer.))

      The Carroll Anesthesia case is factually similar to the instant case in

the following respects:

    Employees of Carroll Anesthesia had employment agreements

      containing post-employment covenants prohibiting the employees from

      competing for a period of time within a geographic area.

    Business competitor AnestheCare hired four of these employees and

      executed indemnity agreements with each of them.

    The restrictive covenants contained in the Carroll Anesthesia

      employment agreements were discussed during the recruitment process

      with AnestheCare.

    The employees knowingly breached the covenants contained in the

      Carroll Anesthesia employment agreements, relying on the indemnity

      agreements and advice of AnestheCare’s counsel that the restrictive

      covenants were unenforceable.

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    When Carroll Anesthesia began litigation to enjoin the employees from

      continuing to breach the restrictive covenants, AnestheCare provided

      them legal representation.

Carroll Anesthesia Assocs., P.C. v. AnestheCare, Inc., 234 Ga. App. 646, 647-

48, 507 S.E.2d 829, 832 (1998). The trial court granted summary judgment in

favor of AnestheCare, but the decision was reversed on appeal. In its opinion,

the Georgia Court of Appeals held that a plaintiff, in order to establish a

cause of action for wrongful interference with contractual relations, must

show that the defendant: (1) acted improperly and without privilege; (2) acted

purposely and maliciously with the intent to injure; (3) induced a third party

not to enter into or to continue a business relationship with the plaintiff; and

(4) caused the plaintiff some financial injury. Id. (citing Lake Tightsqueeze,

Inc. v. Chrysler First Fin. Svcs. Corp., 210 Ga. App. 178, 181, 435 S.E.2d 486,

488-89 (1993)). Notably, the Georgia Court of Appeals added the “existence of

a valid contract” to the elements of interference set forth above. Carroll

Anesthesia, 234 Ga. App. at 647-48, 507 S.E.2d at 832. In other words, it

mattered to the court that the defendant induced and encouraged the former

employees to breach valid restrictive covenants.

      Lockton argues that the Carroll Anesthesia case applies only to the

second element of tortious interference: malice. Thus, according to Lockton, to

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establish the first element of tortious interference, USI must demonstrate

“improper conduct” which is “wrongful action that generally involves

predatory tactics such as physical violence, fraud, or misrepresentation,

defamation, use of confidential information, abusive civil suits, and

unwarranted criminal prosecutions.” Gordon Doc. Prods., Inc. v. Serv.

Technologies, Inc., 308 Ga. App. 445, 449, 708 S.E.2d 48, 53 (2011). Even if

this general list of potential wrongful acts could be considered exhaustive,

which is clearly not the case, Lockton ignores the fact that in Gordon, the

court found the restrictive covenants at issue to be unenforceable. With

respect to the restrictive covenants at issue here, this Court’s order on the

pending Motions for Summary Judgment in the Related Case (entered

contemporaneously with this order) holds that the provisions are enforceable.

Therefore, the determination of whether there is improper conduct must be

made in the context of enforceable restrictive covenants.4 Moreover, the


4 The only case cited by Lockton in which a court found an absence of
wrongful conduct even when an enforceable restrictive covenant was
breached is Coloplast Corp. v. Am. Breast Care, L.P., 209 F. App'x 945, 946
(11th Cir. 2006). In Coloplast, the trial court granted summary judgment in
favor of the new employer, finding that the fair competition privilege
protected the challenged actions. The Eleventh Circuit, in a short,
unpublished opinion affirmed the grant of summary judgment. The Eleventh
Circuit's “unpublished opinions are not considered binding precedent,” and
carry only “persuasive authority.” 11th Cir. R. 36-2. This Court respectfully
disagrees with the opinion in Coloplast.

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Georgia Court of Appeal has held that “persuading practically the entire

sales force of the plaintiff, upon which it depends for its livelihood, to leave

the plaintiff en masse and join a competing firm” is wrongful—even when

those employees are purely at will.5 Architectural Mfg. Co. of Am. v. Airotec,

Inc., 119 Ga. App. 245, 248, 166 S.E.2d 744, 746 (1969).

      The summary judgment ruling and subsequent reconsideration in

Iterra International, LLC v. Al Khafaji, No. 1:16-CV-1523-MHC, 2019 WL

13023738 (N.D. Ga. Oct. 24, 2019) is instructive. In granting summary

judgment in favor of the defendant, the Iterra court held that “[s]imply

persuading someone to breach a contract, absent predatory tactics such as

physical violence, fraud or misrepresentation, defamation, use of confidential

information, and abusive civil suits, is not improper conduct that constitutes

a tortious interference with contractual relationships.” Id. at *14 (quoting

Mathew Focht Enters., Inc. v. Lepore, No. 1:12-CV-4479-WSD, 2013 WL

4806938, at *7 (N.D. Ga. Sept. 9, 2013)). The plaintiff in Iterra moved for




5 Dean Anderson and Taylor Anderson were not “purely at will” employees.
While provisions in their employment agreements label them at-will
employees, the Notice Provisions of the Anderson’s agreements place a limit
on when they may terminate their employment, i.e., sixty days after giving
notice.

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reconsideration, arguing that where there is a valid employment agreement

with an enforceable restrictive covenant, wrongful conduct can be shown by

any unauthorized interference or interference without legal justification or

excuse. Id. The court agreed, granted the motion for reconsideration, and

denied the defendant’s motion for summary judgment because there was

evidence from which a factfinder could conclude that the defendant induced

an employee to breach an enforceable employment agreement by soliciting

customers he serviced. Id.

      Here, Lockton did much more than the defendant in Iterra: while aware

of the employment agreements, Lockton directly induced the Andersons and

Maldonado to breach multiple provisions of their agreements plus provided

them legal counsel and indemnity with regard to any legal challenges they

faced from USI. Accordingly, Lockton is not entitled to summary judgment on

USI’s claims against it based on an absence of evidence of improper conduct.

      Alternatively, Lockton contends it is entitled to summary judgment on

USI’s claims based on the fair competition privilege. Under Georgia law, fair

competition is always legal. Agilysys, Inc. v. Hall, 258 F. Supp. 3d 1331, 1353

(N.D. Ga. 2017). “When the competitor solicits employment applications that

the [competing employer]’s at-will employees respond to, this . . . is a matter

of fair competition.” Am. Bldgs. Co. v. Pascoe Bldg. Sys., Inc., 260 Ga. 346,

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348-49, 392 S.E.2d 860, 863 (1990). But, Georgia courts recognize “limits to

the kinds of inducement [of at-will employees] which may be permitted . . .

[and have] adopt[ed] the theory of privilege as set out in the Restatement,

Torts, § 768, including the limitations upon which the privilege rests.”6 Orkin

Exterminating Co. v. Martin Co., 240 Ga. 662, 667, 242 S.E.2d 135, 139

(1978); see E.D. Lacey Mills v. Keith, 183 Ga. App. 357, 363, 359 S.E.2d 148,

155 (1987). More to the point, the Georgia Court of Appeals has held that

when a competing business induces an employee to leave the competitor



6Section 768 (1) of the Restatement of Torts explains the privilege of a
competitor as follows:

      One is privileged purposely to cause a third person not to enter
      into or continue a business relation with a competitor of the actor
      if
      (a) the relation concerns a matter involved in the competition
      between the actor and the competitor, and
      (b) the actor does not employ improper means, and
      (c) the actor does not intend thereby to create or continue an
      illegal restraint of competition, and
      (d) the actor's purpose is at least in part to advance his interest in
      his competition with the other.

However, subsection 2 adds this limitation:

      The fact that one is a competitor of another for the business of a
      third person does not create a privilege to cause the third person
      to commit a breach of contract with the other even under the
      conditions stated in Subsection (1).


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without giving the notice required by the employee’s contract, there can be no

privilege. Witty v. McNeal Agency, Inc., 239 Ga. App. 554, 561, 521 S.E.2d

619, 628 (1999).

      Additionally, USI has alleged that Lockton attempted to raid its

aviation group by seeking to hire away a significant number of its employees

and did, in fact, hire five of them (Count Three). Georgia courts have held

that when a competitor solicits a substantial portion of the competing

business’s sales force and is successful in hiring several of those employees,

there is a question of fact regarding whether the fair competition privilege

applies. See Nager v. Lad'n Dad Slacks, 148 Ga. App. 401, 404, 251 S.E.2d

330, 333 (1978). Therefore, if USI prevails in opposing Lockton’s Motion for

Summary Judgment as to its raiding claim, the evidence of wrongdoing it has

adduced in support of the that claim would be sufficient to at least create a

question of fact as to whether the fair competition privilege applies. In other

words, if Lockton is not entitled to summary judgment as to Count Three, it

cannot obtain it based on the fair competition privilege either.

      In opposing Lockton’s Motion for Summary Judgment, USI points to

the following evidence:

    At some point prior to the Former Employees’ departure for Lockton,

      the USI Aviation Practice Group had ten employees; Dean Anderson

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  was the leader of the Group. Plt.’s Stmt. of Additional Facts (“PSOAF”)

  ¶¶4, 274 [143].

 Taylor Anderson was not technically a member of USI’s Aviation

  Practice Group, but he worked closely with members of the Group and

  helped service USI’s Client Accounts with aviation insurance needs.

  PSOAF ¶30 [143].

 In the Fall of 2019, Lockton did not have a group focused on aviation

  insurance. PSOAF ¶275 [143].

 From June 2019 through December 2019, Lockton reached out to the

  following USI employees about accepting a job at Lockton:

  -On June 4, 2019, Manoj Sharma, Executive Vice President

  and Chief Operating Officer of Lockton, contacted Taylor

  Anderson via text message to discuss potential employment

  at Lockton. PSOAF ¶57 [143].

  -Sharma contacted Roger Maldonado via telephone to

  discuss potential employment with Lockton in Summer

  2019. PSOAF ¶89 [143].

  -On October 11, 2019, Sharma contacted Dean Anderson

  via telephone to discuss potential employment with

  Lockton. PSOAF ¶74 [143].

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              -In October 2019, Amira Couch, Account

              Representative within the USI Aviation Group, was

              contacted by a recruiter about joining Lockton.

              PSOAF ¶276a [143]; Couch Dep. at 66-68 [150-12].

              -On November 21, 2019, USI employee Rikin Patel

              was contacted by a recruiter about joining Lockton.

              PSOAF ¶276b; Patel Dep. at 88 [96-1].

              -On December 5, 2019, USI employee Kimberly Grier

              was contacted by a recruiter about joining Lockton.

              PSOAF ¶276c[143; Grier Dep. at 79 [97-1].

 According to Couch, once members of USI’s aviation practice learned

  that the Former Employees were going to Lockton, all but one reported

  contact by a Lockton recruiter. Couch Dep. at 91 [150-12]

 Of the ten USI employees that Lockton recruited, five of them left USI

  for Lockton PSOAF ¶277 [143].

 When Lockton’s recruiter contacted Grier on December 5, 2019, the

  recruiter told Grier that that if she took the job, she would be working

  with someone she knew. Grier Dep. at 110 [97-1].

 Lockton offered to make the change in employment for the Former

  Employees risk-free by offering to fully indemnify them for any

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  judgments, fees, or costs associated with any litigation with USI about

  their breach of the USI Employment Agreements. PSOAF ¶¶61, 65, 80,

  84, 96 [143].

 Both Rikin Patel and Kimberly Grier obtained counsel through

  Lockton. Grier Dep. at 93-94 [97-1]; Patel Dep. at 122-22 [96-1].

 Lockton and its counsel also directed the strategy and provided

  substantial support to the Former Employees pre-resignation regarding

  planning their simultaneous departure dates and advice about

  resignation letters and notices to USI’s client of their departures.

  PSOAF ¶¶123, 126, 138-143 [143].

 Lockton’s counsel also assisted Patel and Grier with their resignation

  notifications, preparing the initial draft of Patel’s resignation letter and

  providing Grier assistance with her resignation email. PSOAF ¶280

  [143].

 Dean Anderson told Couch that “USI wants to dismantle the aviation

  group.” PSOAF ¶281 [143].

 In October 2019, after a Lockton recruiter contacted Couch about a

  position at Lockton, she told Dean Anderson about the recruiter calling

  her and told him that she was not interested. PSOAF ¶282 [143].




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    Couch related Dean Anderson’s response as follows: “I appreciate your

      loyalty, but I can’t make any guarantees as far as what’s going to

      happen with our practice group. So if you have a family to look after, to

      worry about, you have to look out for yourself. So if there is an

      opportunity or a recruiter contacts you, you may want to consider

      calling them back.” PSOAF ¶283 [143].

    At the same time Dean Anderson was advising Couch, he was

      discussing his move to Lockton. PSOAF ¶¶75-81 [143].

    Between December 9, 2019 and February 12, 2020, at least 19 USI

      clients transferred their brokerage relationships away from USI to

      Lockton with a combined revenue in the 12 proceeding months totaling

      $1,082,178. PSOAF ¶271 [143].

    USI’s 30(b)(6) deponent testified that although damages are continuing

      to accrue, USI lost at least 25 USI Client Accounts as a result of the

      Former Employees’ breaches with estimated annual revenue totaling

      $1,466,821. Allen Dep. at 155 [101-1]; Ex. 31 [100-1 at CM/ECF pages

      188-89].

In light of this evidence, the Court cannot conclude that there is no factual

evidence to support USI’s raiding claim. Rather, this evidence is sufficient to

create a question of fact with respect to Count Three of the Complaint.

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Therefore, Lockton cannot rely on privilege to obtain summary judgment on

Counts One and Two. As a result, Lockton’s motion for summary judgment is

DENIED in its entirety.

            2. USI’s Motion for Summary Judgment as to Liability

      Having determined that there is at least a question of fact as to USI’s

claims against Lockton, the Court turns to USI’s Motion for Summary

Judgment as to liability on Counts One and Two. In so doing, the Court will

make all inferences and view all evidence in the light most favorable to

Lockton as the non-movant.

      In responding to USI’s Motion for Summary Judgment, Lockton

contends there is an absence of evidence of improper or wrongful conduct.

However, as set forth above, there is evidence from which a factfinder could

conclude that Lockton induced the Former Employees to breach enforceable

provisions within their employment agreements with USI—which is

sufficient to satisfy the element of wrongful conduct. See supra Part IV.A(1).

Nevertheless, Lockton, as the non-movant, is entitled to favorable

construction of evidence and all reasonable inferences. Thus, to prevail on its

affirmative Motion for Summary Judgment, USI must establish that the

factfinder could only find in its favor with respect to Counts One and Two.

While USI characterizes its evidence as strong, there remain fact issues as to

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whether the conduct by Lockton was wrongful and even more so with regard

to Lockton’s intent. In other words, this is not a case where Lockton, as the

competing business, undertook actions that were wrongful as a matter of law

and has conceded its intent was to injure USI. Therefore, these issues are for

the factfinder, not the Court. Accordingly, USI is not entitled to summary

judgment as to Counts One and Two.

      B. Lockton’s Counterclaim

      USI has moved for summary judgment on Lockton’s remaining

counterclaims. Those claims are for tortious interference with contractual

relations based on an email sent by USI employee Matthew Marchisotto and

for punitive damages and attorney’s fees.

                  1. Marchisotto Email

      First, USI contends that the Marchisotto email is not of the type of

wrongful actions that give rise to a tortious interference claim because at the

time he sent the email, Marchisotto believed everything he said was true.7 In

response, Lockton points to Marchisotto’s testimony in which he says that he



7The evidence for Marchisotto’s belief is his own testimony. Lockton is
entitled to challenge the credibility of this testimony, and whether it is
deemed credible is for the factfinder, not the Court. Therefore, USI can not
prevail on its Motion for Summary Judgment based on this this evidence
alone.

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learned of the litigation against the Former Employees and the existence of

an injunction from USI personnel in Atlanta, and it was those same

employees who agreed to Marchisotto’s suggestion that he contact Adler.

Marchisotto Dep. at 41-42 [98-1]. Furthermore, Marchisotto conceded that he

contacted Adler for the purpose of alerting Tenax that the injunction would

present problems for Tenax in dealing with the Former Employees at Lockton

with the ultimate goal of getting Tenax to leave Lockton and return to USI.

Marchisotto Dep. at 42, 44-46 [98-1]. Thus, there is evidence from which a

factfinder could determine that USI—while fully knowledgeable about the

contents of the injunction—utilized Marchisotto to suggest to Adler that the

injunction prohibited Tenax from working with the Former Employees at

Lockton, which is undisputedly an inaccurate representation of the

requirements of the injunction. Making a false statement to induce a breach

of contract amounts to an act wrongful in itself. DS Waters of America v.

Fontis Water, Inc., No. 1:10-CV-0335-SCJ, 2012 WL 12873620, at *3 (N.D.

Ga. Dec. 4, 2012). Georgia courts have held that even a representation that is

not knowingly false made without confirming its veracity can amount to

fraud. See Lafontaine v. Alexander, 343 Ga. App. 672, 676-77, 808 S.E.2d 50,




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54 (2017).8 Therefore, there is a question of fact with regard to the wrongful

conduct element of Lockton’s tortious interference with contractual relations

claim.

      Second, USI contends that the Marchisotto email is entitled to privilege

under O.C.G.A. § 51-5-7(3), which protects “[s]tatements made with a good

faith intent on the part of the speaker to protect his or her interest in a

matter in which it is concerned.” In response, Lockton points out that

Marchisotto is not the party against whom the tortious interference claim is

made; that party is USI. Furthermore, Lockton has adduced evidence that

USI personnel in Atlanta were involved in the concept, if not the precise

content, of Marchisotto’s email. Thus, the good faith intent inquiry does not

focus solely on Marchisotto. Accordingly, his testimony that he believed what

he wrote was true, even if it could be deemed credible by the Court, is not

sufficient to allow USI to prevail on its summary judgment motion. As stated

above, there is evidence from which a factfinder could determine that

Marchisotto’s relationship with Adler was exploited by other USI employees



8 USI correctly points out that Lafontaine is not a tortious interference case.
Nevertheless, fraud and misrepresentation are within the list of specific
actions that are recognized as wrongful conduct for purposes of tortious
interference with contractual relations. Gordon Document Prod., Inc. v. Serv.
Techs., Inc., 308 Ga. App. 445, 449, 708 S.E.2d 48, 53 (2011).

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in an effort to regain Tenax as a client through statements that, as USI

acknowledges, were not precisely accurate.

      USI’s third argument is that it is entitled to summary judgment as to

the malice element of Lockton’s tortious interference claim. Again, USI relies

on Marchisotto’s testimony that he believed that all statements in his email

were truthful. This narrow view of the communication fails for the same

reasons discussed above: there is evidence from which a factfinder could

determine that USI employees other than Marchisotto urged the

communication knowing that it was not precisely accurate.

      Fourth, USI contends there is no evidence that the Marchisotto email

rendered Lockton’s performance of the Tenax contract more difficult or

expensive. In response, Lockton points to the testimony of Tenax’s Chief

Financial Officer, Tim Cantrell, who expressed frustration with being drawn

into a squabble between USI and the Former Employees. Cantrell Dep. at 95

[108-1]. Further, Tenax viewed the situation as a nuisance, and it was

required to engage counsel. Id. at 94-95 [108-1]. After informing Lockton of the

situation, Lockton agreed to indemnify Tenax for any legal costs. Id. at 102-

03 [108-1]. This evidence is sufficient for a factfinder to determine that the

Marchisotto email made Lockton’s performance of the contract with Tenax

more difficult or expensive.

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      Finally, USI argues that there is no evidence that Lockton suffered any

financial injury that was proximately caused by the Marchisotto email. In

response, Lockton points to its agreement to pay Tenax’s legal fees. Id. at

102-03 [108-1]. While USI claims that the indemnification agreement

occurred months after the email was sent and stemmed from subpoenas

unrelated to the email, the court finds there is at least a question of fact as to

whether the Marchisotto email contributed to Lockton’s decision to indemnify

Tenax for legal fees related to USI’s counterclaims against the Former

Employees in the Related Action.

            2. Punitive Damages & Attorney’s Fees

      USI argues that because it is entitled to summary judgment on

Lockton’s tortious interference claim, the derivative claims for punitive

damages and attorney’s fees must fail. As set forth above, however, there

remain questions of fact as to the elements of the tortious interference claim.

Accordingly, USI is not entitled to summary judgment on the claims for

punitive damages and attorney’s fees.

V.    Conclusion

      For the above-mentioned reasons, Lockton’s Motion for Summary

Judgment [116] is DENIED, and USI’s Motion for Partial Summary

Judgment [119] is DENIED. Furthermore, Lockton’s Motion for Leave to File

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Supplemental Authority [169] is GRANTED,9 and USI’s Motion for Leave to

File a Surreply [172] is GRANTED

      This case is REFERRED to the next available magistrate judge, who

shall be assigned this case in the ordinary manner. With respect to the

mediation process, the parties are reminded to conduct themselves in

accordance with Local Rule 16.7, NDGa. Furthermore, the deadline for filing

the proposed consolidated pretrial order is STAYED to give the parties time

to pursue settlement. The parties are ORDERED to file, within ten days of

the mediation, a joint status report informing the court of the outcome of the

mediation. If the mediation is successful, the parties’ status report shall

provide a date by which the final settlement agreement will be executed and

the dismissal filed. If the mediation is unsuccessful, the stay shall be

automatically lifted, and the proposed consolidated pretrial order shall be due

within 30 days of the date of mediation.


9 In this motion, Lockton alerts the court to an October 13, 2021 decision of
the Georgia Court of Appeals and contends it is applicable to the parties’
cross motions for summary judgment because it involves the same types
of claims at issue in the instant case, namely tortious interference claims
asserted by an employer against a former employee’s new company. See
BB&T Insurance Servs. Inc. v. Renno, 331 Ga. App. 415, 864 S.E.2d 608
(2021). Renno is not applicable, however, because the court there expressly
found the restrictive covenants in the employment agreement to be
unenforceable. Here, the Court has determined that at least some of
restrictive covenants are enforceable as a matter of law.

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SO ORDERED, this 29th day of March, 2022.



                                   HONORABLE STEVE C. JONES
                                   United States District Judge




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